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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  -----------------------------------------------------------------X
  LAUREN MIRANDA,
                                                                       NOTICE OF MOTION
                                     Plaintiff,
                                                                       Docket No.
                            -against-                                  20 Civ. 00104 (BMC)
  SOUTH COUNTRY CENTRAL SCHOOL
  DISTRICT,

                                      Defendant.
  -----------------------------------------------------------------X


         PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law in Support

 of Defendant’s Motion to Preclude, the Declaration of Steven C. Stern with exhibits, and upon all

 prior pleadings and proceedings in this action, Defendant South Country Central School District

 will move this Court before the Honorable Brian M. Cogan at the United States District Court for

 the Eastern District of New York, located at 225 Cadman Plaza East, Brooklyn, New York 11722,

 on a date and time to be determined by the Court, for an Order pursuant to Fed. R. Evid. 702 and

 Fed. R. Civ. P. 37(c)(1) precluding Plaintiff from offering at trial evidence of lost income and the

 testimony of Ronald G. Quintero, together with such further relief as this Court deems proper and

 just.

         PLEASE TAKE FURTHER NOTICE that answering papers shall be served by

 September 2, 2022.




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 Dated: Carle Place, New York
        August 12, 2022

                                                 SOKOLOFF STERN LLP
                                                 Attorneys for Defendant
                                                 South Country Central School
                                                 District

                                                 _______________________
                                           By:   Steven C. Stern
                                                 Chelsea Weisbord
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                                                 File No. 190043


 TO:   Via ECF
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